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                              UNITED STATES DISTRICT COURT
                                     DISTRICT OF OREGON

     llM"TED STATES OF AMERICA,
                                  Plaintiff,
            v.
                                                               DEFENDANT'S SEJ?lTENCING
     SUZANNE SAVOIE                                            MEMORANDUM



                                         INTRODUCTION
           Ms.Savoie is 29 years old and has no prior criminal history. She became involved in
    animal and envimmental.activism during her junior year in d e g e and still considers herself
    as committed to mind rights and in trying to prevent the destnrction of the planet through
    mviromental degmdatim. Ms.Savoie acted as a bok-out in tbe Superior Lumber Company
    arson and helped write the cornunique. She also participated in the Jefferson Poplar m n by
    searching the site prior to &the arson and acting as a lookout and driver. After her iwolvement
    inthe Jefferson Poplar m n Ms.Savaie begau to distance herself h m the conspiratorsbecause
    of her misgivings abut the tactics and methods used by the group.


DEFENDANT'S SENTENCMG MEMORANDUM
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            In2001 Ms.Savoied       e a comMjtmat to useonly legal methodsin her attempts to work

    for s sustainabb futurefor all the inhabitants of thisplanet. Ms.Savoiemoved to rural Soutbem
    Oregon to live a simple, s w h b b l e W and found work caring far developmentally disabled
    adults. Ms. Savoie had put her past l i e behind her mtiI contacted by authorities in December
    of 2005. Ms. Savoie appeared voluntarify on the pending charges and has been on pmtrial:
    release without any violations since the inoeption of the case.
           Ms. Savoie voluntarily revealed her role in the offense and clarified the roles and
    identities of others in the conspiracy. As a result she has h e n branded a ?atat"
                                                                                     and a "snitch" in
    online postings and articlesin mviromental activist publications. In A Green Anarchy posting
    of December 7,2006, it states that "on November 9,2006, Daniel McGowan, Joyanna Zacher,
    Nathan Block and Jonathan Paul appeared in Federal C a M to enter guilty pleas....Maintaining
    their integrity and commitment to revolutionary struggle, they did not agree to provide
    infomation or testify against anyone now or in the future. Daniel McGowan's plea agreement,
    which is a p p m t l y sjmiiar1y to the other thee, has been posted online at his support website."
    Lakr in the same article it indicatesXhat Ms.Savoie and others    "...plead guiltythis past summer
    to related charges in Oregon and Wmhingbn. All eight of this individuals agreed to become
    snitches and cooperate with the prosecution and implicate others in exchange for reduced
    sefltmces.   The lawyers farthese defendant's have &edW the detaiis of their plea agreements
    remain sealed in the interests of protecting their client's safety, but we hope for them to be
    o p e d so that we can discovery the depthsof their treachery a d who else may be involved. We
    obviously loathe these individuals' actions and do not suppart them in any way. It should be
    noted that while the snitches sentences vary, on average, they look to serve as much, if not mom,
    time than those who mintailredtheir composure.      Another lesson to remember."
           In another posting by the Rogue Indepdent News on May 21, 2007 the writer
    commented on Ms. Savoie's and her husband,Luke R d g e r ' q a t k m h c e at an environmental
    fund raising event uRecently at a KS Wild Fundraiser in the Applegate, two people where in
    attendance ofdubious chamcter. The two persons, Suzanne " W a " Savoie and Luke Rudigger

DEFENDANT'S SENTENCINGM E M O W U M                                                                Page 2
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     Luke Rudigger (sic), are widely known F d d Informants who have more than compromised
     their solidaritywith formercomrades Jomdha Paul and Daniel McGowan, as well as the others
     in the region's activist community, which has led to these persons m n t irials where they are
     fkihg, along with others, '       ~ enhanoemmtn
                                             m      charges which would severelyincreasetheir
     sentences. This much is iadisputable."
            Ms. Savok plead guilty and agreed to cooperatewith the government not solely because
     she wanted a reduced sentence, but also out of her belief tbat other codefendantswho had been
     her fiends needed to also accept responsibility before they endsd up with 30 year mandatory
     minimum sentences or life in prison.

            Ms.Ger1ach c d k d Ms.Savoie with convincing her to accept responsibility and Ms.
     Gerlach was then instrumental in convincing the remaining defendants to accept responsibility,
                                    TERRORISM ENHANCEMENT
            The Court has previously ruled tbat one ofthe two arsons that Ms.Savoie was involved
     in, the Superior Lumber fire in Giendde, Oregon, does not qualify for the enhanced sentemce
     prowdm contained in U.S.S.G.9 3Al.4 h a u s e it was a privately owned bwiness and there
     was no claw a d convincing proof that the defendants' actions or a f k t the conduct of
     government or d a t e against government conduct, However, the Court has held in Mr.
     Meyerhoff and Ms. Gerlach's cases that the other arson that Ms. Savole was involved in, the
     Jeffersan P o p k fire, did qualify as to those two defendants.
            Ms.Savoieobjectsto the d e d tenorism enhancementbeingappliedto her conviction
    resulting h r n the fire at Jefferson Popla beceurse she did not author the communique and
     becausethere is a0convincing proof &e intended toinfluence orretaliate againstthegovernment
    in any way. Rather, Ms.Savoie mistakenlybelieved that the privatecorporationwas t k a k n h g
    biwlivmity by creating genetically m g h x dtrees and her actions were directed against the
    private corporation, not the government. Ms. Savoie did not author the communiqw sent
    afterwards and there is m, other clear and convincing evidence that her actions were in myway
    directed at government.
DEFENDANT'S S-CING                 MEMORANDUM
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                                SENTENCING RECOMMENDATION
            In consideringthe factors enumerated in 18 U.S.C. 3553 (a) the court should in addition
    to consideringthe obviously serious nature of the offense, also consider that Ms. Savoie's history

    and characteristics. Ms. Savoie has no other criminal history and voluntarily removed herself
    h m all illegal activities since 2001.
            Ms.Savoieackwwledgesthat theseriousnessofthe offenseandmderstandsthe necessity
    to impose just punishment and promote respect for the law. Howewer, those goals can still be
    a0c0mp1lshedbygivingMs. Savoielessthanthe 63 monthsefltencerequeskdbythegovernment.
     She has d   e a commitmexlt not to engage in illegal activity of any kind and to work to make a
    positive oontiibution to society.
           A sendence of 30 months is adequate to deter criminal conduct in Ms.Savoie and others,
    provide a just punishment far her &or role in the offense, deter Ms.Savoie and others fkom
    further crhimd conduct and to protect the public from further crimes committed by Suzanrze
    Savoie.
                                             CONCLUSION
           It is ?heDehdant's positionthat the governmentlacks clear and convincingevidencethat
    Ms.Savoie's actions with respect to the Jefferson PoplarFarm arson were d       Mat government
    in any was and thatthe ?errorism enhancement'' doesd apply. Thmefore, pursuant to U.S.S.G.
    3 2K1.4(a)(4) tbe base level offense for bath ~lfsoncounts should be 6 with           a 13 level
    cxhnment pursuantto U.S.S.G. 2B1.3(b)(l)       anda2 level enhmment for moretban minimal
    planning for an offense level of 21 prior ta a two level reduction for minor role far a h d base
    level of 19 with no criminal history points resultingin an advisory sentencing guideline rangeof
     194 or 30-37 months.

                            3
           DATED: ~ a y 2007.                             Respectfully Submitted,




D E F E N D M S SENTENCING MEMORANDUM                                                             Page 4
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These search terms have been highlighted: fbl Informant suzanne savoie




                              Operation Backfire: Still Smoldering
                                   Dec 7, 2006                        --        Eugene, Oregon, United States

                                                   Hearing bates (2007 Eugene, OR):
         May 15   - Oral arguments for Terrorism Enhancement
         May 22 - Cooperating Defendant Stanlslas Meyerhoff s sentencing. am
         May 24 - Cooperating Defendant Kevin Tubbs's sentencing. 9 am
         May 25 - Cooperating Defendant Chelsea Gerlach's sentencing. 9 am
         May 29 - Cooperating Defendant Carren Thurston's sentencing. 9 am
         May 31 - Cooperating Defendant Susanne Savoiet sentencing. 9 am
         M a y 31 - Cooperating Defendant Kendail Tankersky's sentencing. 1 prn

         June t - loyanna Zacher and Nathafl Block-s sentencing. 9 am
     a   June 4 - Daniel FlcGowan's sentencing. 9 am
         June 5 - loriathan Paul's sentencing. 9 am

    On December 7, 2005, federal and focal law enforcement began the lal-gest I-oundup of alleged
    environmental and animal liberation activists in American history. That day the F8I arrested six people in
    four different states and issued Grand Jury subpoenas to several others. Over the next few months, the
    number of arrests, indjctments, and subpoenas would mount in what the government called "Operation
    6ackFireV.[ C l ~ khere for our previous analysis]

    On November 9, 2006, Daniel McGowan, Joyanria Zacher, Nathan Block and Jonathan Paul appeared in
    federal court to enter guilty pleas and accept responsibility for their roles in a series of env~ronmentally
    motivated arsons in Oregon between 1997 and 2001. The actions were claimed anonymously on behalf of
    the Earth Liberation Front and Animal Liberation Front. All were Facing what would amount to life in prison.
    Maintaining their integrity and commitment to revolutionary struggle, they did not agree to provide
    information or testify against anyone now or in the future. Daniel McGowan's plea agreement, which is
    apparently similar to Ihe other three, has been posted online a t his support website:
    www.supportdaniel.org. Zacher and Block each pled to one count of conspiracy, attempted arson, and two
    separate lncldents of arson. McGowan pled to conspiracy and t o two separate incidents of arson. The
    government is recommending they be sentenced l o 96 months (eight years) in Federal prison. Paul pled to
    m e count of arson and one count of conspiracy. The government is recommending Paul be sentenced to 60
    months (five years; in prison. All four defendants are expected to argue for a lesser sentence.

    Prosecutors say that they will request that the court apply a "terrorism enhancement" Lhat could add an
    additional 20 years to each defendants' sentence. According to deFense lawyers, the "terrorism
    enhancement" can only be applied if the court finds that the defendants' actions were motivated by a desire
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             Case Still Smoldering
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    to change the policies of the U S government by means of coercion, but since the property damaged or
    destroyed b y the defendants was owned by private corporations the prosecutors are not likely to get the
    "terrorism enhancement" according to some analysis. Court appearances are scheduled for this spring to
    decide sentences and the "terrorism enhancement."

    > We strongly encourage support, both now and during their time in prison, for these four comrades.
    Donations can be made to Daniel's defense by going to: www.rnyspace.com/danielmcgowan. Check and
    money orders can be made out to "Lisa McGowan" and sent to: Lisa McGowan, PO Box 106, New York, NY
    10156. To hetp Jonathon Paul, contact: friendsofjonathanpauI@yahoo.com. To donate to his legal defense,
    please write a check or money order out to 3onathan Paul and send to: Friends of Jonathan Paul, PMB 267.
    2305 Ashland Street, Ste. C, Ashland, OR 97520. Joy and Nathan are still incarcerated awaiting sentencing.
    They can be written at: loyanna Zacher # 1662550, Lane County Jail. 101 W 5th Ave Eugene, OR 9'7401
    and Nathan Block g1663667,'Lane County Jail, 101 W 5th Ave Eugene, OR 97401. Donations can always
    be sent to Nathan and loyanna's support fund: S . N . J , c/o Maureen Block, 881 Oak Hill Rd., Swanville, ME
    04915, or contact: supportersofnathanandjoyanna@gmail.com

    Six others, Kendall Tankersley, Darren Thurston, Kevin Tubbs, Stanislas Meyerhoff, Chelsea
    Gerlach, and Suzanne Savoie, pled guilty this past summer to related charges in Oregon and
    Washington. All eight of those individuals agreed to become snitches and cooperate with the prosecution
    and implicate others in exchange for reduced sentences. The lawyers for those defendants have asked that
    the details o f their plea agreements remain sealed in the interest of protecting their clients safety, but we
    hope for them to be opened so we can discover the depth of their treachery and who else may be involved.
    We obviously loathe these individuals' actions and do not support them in any way. I t should also be noted
    that while the snitches' expected sentences vary, on average, they look to serve as much, if not more, time
    than those who maintained their composure. Another lesson to remember.

    I n October, two more government informants, Jennifer Kolar, 33, of Seattle, and Lacey Phillabaum, 31,
    of Spokane, pled guilty for their role in the $7 mlllion 2001 arson at the University of Washington, claimed
    in the name of the Earth Liberation Front. Kolar and Phillabaum each pled guilty to charges of conspiracy,
    arson, and use of a destructive device. Kolar also pled guifty to an attempted arson charge for a Failed 1998
    firebombing that damaged a Wray, Colorado, gun dub that organized a multistate turkey shoot. Both
    joined the abhorrent ranks OF their unindicted co-conspirator and fellow infarmafit, Jacob Ferguson, and
    have been cooperating with the' FBI since last winter. They agreed to wear concealed wire recording
    devices and attempt to help the government gather evidence on suspects and are bound by their plea deals
    to do so beyond their terms of incarceration. Kolar is anticipated to receive a sentence of five to seven
    years and Phillabaum will face a recommended sentence of three to five years. They will be expected to
    testify at the trial of Briana Waters, who is accused of participating in the UW arson, and possibly others.
    Kolar declined to make a statement, but did thank Assistant U.S. Attorney Andrew Friedman as he left the
    courtroom. Kolar worked for a variety of animal rights and environmental causes throughout the years, but
    for the past six years she has spent much o f her time sailing and racing a yacht she co-owns. There i s still
    apparently a t least one unknown unindicted co-conspirator who has been assisting the prosecutiori w i t h
    the~rcase.

    In some good news, on November 15, l e f f Hogg was r~leasedfrom a jail in Grants Pass, OR after being
    detained for nearly six months for refusing to testify before a grand jury investigating a series of ELF
    x t i o n s which occurred in Orcgon bct-ween thf mid-1990s and 2001. Jeff's lawyer. Paul Loney. informcd thc
    prosecution of his intent l o file more motions to obtain his release. The prosecution then decided to rclesse
    him rather than fight these motions. Hogg was jailed by the court last May in order to coerce hlrn into
    testifying before a grand jury. According to the law he may be required to stay in jail a total of 18 months
    or until the term OF the grand jury has expired but only if the court believes that to do so may coerce him
    into testifying. Hogg has missed his final exams and his grandfather's funeral while imprisoned. He testified
    under oath on August 15 that he will never testify at a grand jur-y proceeding. We greatly appreciate his
    strength during these troi~blingtimes. Despite the various gt~iltypleas in the Oregon case, we would like to
    1-cmind everyone that this case Is not over. There are still at least three defendants in this case whose
    locations are unknown to the FBI. Also, Briana Waters has Formatiy pleaded not guilty to the University of
    Washington fire and is scheduted for trial in May. These charges carry a mandatory minimum sentence of
    35 years in prison should she be convicted, For more info on Briana and how you can support her upconiirq
    trial, check out: supportbriana.org. Make donations payable to Eric Waters (Briana's brother and




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    Calendar:                    The Green Scare and its Fallout in the
      View This Week
      View This Month
                                 Rogue
    a Add An Event

    Topics:
       Environment &             Recently at a KS Wild fuadrrtiser in the Applegate, two people were in
    Forest Defense
                                 attendance of dubious character. The two p o n s , Suzanne "India" Savoie and
       Labor Movement
       Children & Education
                                 Luke Rudigger, are the widely known Fed& Informants who have more than
       Civil & Human Rights
                                 compromised their solidarity with former comrades Jonathan Paul and Daniel
                                 McGowan, as well as others in the region's activist comuni@,which has
       Elections &
    Democracy                    lead to these person's c-t    trials where they are facing, along with others,
    r Facism &                   ' ~ r i s r enhancement"
                                             n              charges which would severely increase their
    Imperialism                  sentences. This much is indisputable.
    I Feminism &
    Reproductive Rights
       Food & Agriculture        Why these two people were altowedto attend a meeting where other activists were in
       Immigration &             attendance, has became a contentious issue with many judgments and insults leveled at all
    Refugees                     involved. Given tbort KS Wild is an effective gmup that works hard and is quite sumssfid in
                                 their endeavors, and I am @adto call some of them my friends, they are not immune from
       Media                     criticism in this issue. Allowing two horn inf~mmtsto remain in attendance for any reason
    0 War                        at any function not only is a slap in the face to &her activists and prticularly those who are
       Peace                     having their lives drasticaIIy changed at his moment as wells as their f a r n i b , Mends, and
       Poverty & Hunger          loved ones, it is a security risk for aU others who attended as Luke and S u ~ m n ehave an
       Prisons. Police &         ongoing status as life-long informants which makes their presence anywhere a continuous
    Repression                   threat.
    rn Race & Class
                                 As S ~ z ~ ~ land
                                               l l l eLuke are now committed to a life of being obliged informants, they should be
       Religion & Spirituality   quite decisively and quickly dealt with at any fimctim to let them know that what they did,
    rn Sexuality, Gender &       which is deep and wide in scope, is macceptable. Anyone, individually or as a group, who
    GLBT                         allows these people to main at sny sort of fuactiori not only gmatly dismpxts the comrades
       Technology                who face an unjust and compt system to decide their fate because ofLuke and Suzanne, they
                                 are condcdg such behavior with &eir simple complicity, and likewise should not be
    Article                      supported in any way.

    Types:                       1n e w would want that KS Wild lose their effectiveness, but if they tfiinlr;it is okay to sell at:
                                 their local grassmats m t e r p o v t s to retain m e margin of Benefit to their agenda and its
      Announcement               fulfdhent, then they Iose all credriility. lhere are implicit tenants of solidarity, even among
    e News                       informal relationships within a ~~mmmity,         which never should be allowed to be
      Re-post                    compromised period. If KS Wild could admit their grievous oversight md make sure it is
      Opinion                    never to be repeated, they may have room enough to regain local c d d e m e s


    Search:


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                               CERTIFICATE OF SERVICE
       I hereby d f y that on May 29,2007, i caused an exact copy of the attached Defendant's
SentencingMemorandumto be deliveredto attorney forPlaintiff and attmneys for codefendants,
though electronic h f i d o n by ekctronkdly f i h g said mernomdum and by p e r s o d y
emailhg said memo to the attorneys for co-defendants:

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